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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION


   Wood Mountain Fish LLC, et al.,                Civil No. 19-22128-CIV-SMITH/LOUIS

                       Plaintiffs,

   v.

   Mowi ASA (f/k/a Marine Harvest ASA), et al.,

                       Defendants.


                        INDIRECT PURCHASER PLAINTIFFS’
        UNOPPOSED MOTION FOR FINAL APPROVAL OF SETTLEMENT WITH
        ALL DEFENDANTS AND CERTIFICATION OF SETTLEMENT CLASS AND
                   INCORPORATED MEMORANDUM OF LAW
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  I.     INTRODUCTION
         Indirect purchasers of farm-raised salmon (“IPPs” or “Plaintiffs”) brought this class action
  against salmon producers alleging anticompetitive conduct that inflated the price of farm-raised
  salmon and salmon products (“Salmon”) in the United States. IPPs obtained a $33 million class-
  wide settlement with all Defendants. The settlement will provide direct cash relief to class
  members and avoid the risks inherent in a complex indirect-purchaser antitrust action brought
  against foreign Defendants. The Court granted preliminary approval of the settlement on
  November 17, 2022, directed notice to the proposed settlement class, and scheduled a final
  approval hearing for February 24, 2023. ECF No. 341. Because the settlement is fair, adequate,
  and reasonable, Plaintiffs respectfully request that the Court grant final approval of the settlement,
  certify the settlement class, award fees to Class Counsel, and approve reimbursement of litigation
  expenses.
  II.    BACKGROUND
         IPPs have set forth the detailed factual background and procedural history of this case in
  their motion for preliminary approval and motion for fees and costs, which are incorporated by
  reference here. See ECF No. 336 (Motion for Preliminary Approval); ECF No. 345 (Motion for
  Fees and Expenses). In short, IPPs filed this case alleging that Defendants, a group of Norwegian
  Salmon producers, coordinated prices of Salmon in violation of the antitrust laws. ECF No. 1 ¶ 1.1
         IPPs reached the $33 million settlement with all Defendants through a mediation overseen
  by the Honorable Edward Infante, retired Chief Magistrate Judge for the Northern District of
  California. The parties executed a settlement agreement on September 8, 2022. ECF No. 336-2
  (“Settlement Agreement”). The Settlement Agreement defined the following Settlement Class:
                 All persons and entities who indirectly purchased, for resale,
                 Defendants’ farm-raised salmon or products derived therefrom in
                 any of the following states, districts, or territories: Alabama,
                 Arizona, Arkansas, California, the District of Columbia, Florida,
                 Guam, Hawaii, Illinois, Iowa, Kansas, Maine, Massachusetts,
                 Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska,
                 Nevada, New Hampshire, New Mexico, New York, North Carolina,


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   A related case by direct purchasers of salmon (“DPPs”) against the same defendants was filed on
  April 23, 2019. See Complaint, In re Farm-Raised Salmon & Salmon Prods. Antitrust Litig., Case
  No. 19-cv-21551, ECF No. 1. The parties in the DPP action reached a settlement, which was
  granted final approval by the court on September 8, 2022. In re Farm-Raised Salmon, ECF No.
  543.

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                 North Dakota, Oregon, Rhode Island, South Carolina, South
                 Dakota, Tennessee, Utah, Vermont, West Virginia, or Wisconsin.

  Settlement Agreement ¶ 6, ECF No. 336-2. The Settlement Class excludes the Court, its personnel,
  and any Defendants and their parent, subsidiary, or affiliated companies. Id.
         The claims released by this agreement are described in full in paragraph 1.s of the
  Settlement Agreement, and include all claims “related to or arising from conduct alleged in the
  Complaint,” with the exception of the following claims: “(a) Claims based on negligence, personal
  injury, bailment, failure to deliver lost goods, damaged or delayed goods, product defects, breach
  of product warranty, or breach of contract; or (b) Claims based upon a Releasing Party’s
  purchase(s) of farm-raised Atlantic salmon occurring outside the United States or its territories for
  use or consumption outside of the United States or its territories.” Id. ¶ 1.s; see id. ¶ 16.
         The Court granted preliminary approval of the agreement on November 17, 2022. Shortly
  thereafter, and consistent with the Settlement Agreement, Defendants paid $33 million into an
  escrow account, establishing the Settlement Fund. Id. ¶¶ 2.b, 1.aa. Under the Settlement
  Agreement, funds may only be disbursed upon final approval by the court and entry of judgment,
  except that “Class Counsel may pay from the Settlement Fund, without further approval from
  Defendants or the Court, the costs and expenses reasonably and actually incurred up to the sum of
  USD $500,000 in connection with providing notice and the administration of the settlement after
  Preliminary Approval.” Id. ¶ 2.c. As directed by the Court’s preliminary approval order, on
  November 22, 2022, Defendants confirmed they had notified the relevant state and federal officials
  of the settlement in accordance with the Class Action Fairness Act (“CAFA”), 28 U.S.C.
  § 1715(b). See ECF No. 343.
         On December 1, 2022, Plaintiffs filed a motion for an award of attorney’s fees and
  reimbursement of litigation expenses. See ECF No. 345. In the Settlement Agreement, the parties
  agreed that Class Counsel would not seek more than 30% of the settlement fund in attorney’s fees.
  Settlement Agreement ¶ 14.a. Consistent with that agreement, Class Counsel requested a fee award
  of $9,900,000, or 30% of the gross settlement fund and separately requested reimbursement of
  $1,278,166.09 in litigation expenses. ECF No. 345 at 1.
         The Court-appointed Settlement Administrator issued individual notice to potential
  Settlement Class members on December 15, 2022. Decl. of Derek Smith Regarding Notice
  Administration (“Smith Decl.”) ¶ 9. Notice was delivered via email to 40,352 potential class


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  members. Id. For potential class members whose email notices were not delivered, a notice was
  sent via U.S. mail. Id. ¶ 11. Another 353,537 notices were sent via U.S. mail to potential class
  members where no email address was identified. Id. ¶ 9. As part of the notice program, the
  Settlement Administrator also published notice in several industry publications likely to be viewed
  by potential Settlement Class members. Id. ¶¶ 13–14.
         The deadline for opting out of the Settlement Class passed on January 13, 2023. See ECF
  No. 344. No opt-out requests postmarked by that deadline have been received. Smith Decl. ¶ 21.
  The deadline to file objections is January 26, 2023. See ECF No. 344. To date, no objections have
  been filed. Smith Decl. ¶ 22.2 Settlement Class members will have until February 17, 2023 to file
  claims. To date, 40,692 claims have been filed. Id. ¶ 19.
         The Settlement Administrator established a settlement website with information about the
  settlement and claims process for class members. Id. ¶ 15. The website contains relevant
  documents and instructions on how to file a claim, opt-out of the settlement, and object to the
  settlement. Id. Claims can be submitted through mail or directly through the secure claim form
  available on the website. Id.
  III.   LEGAL STANDARD
         “A class action may be settled only with court approval, which requires the court to find
  the settlement ‘fair, reasonable, and adequate’ based on a number of factors.” In re Equifax Inc.
  Customer Data Sec. Breach Litig., 999 F.3d 1247, 1273 (11th Cir. 2021) (quoting Fed. R. Civ. P.
  23(e)(2)).
         Upon final approval of a settlement, a court may certify a class “solely for purposes of
  settlement where a settlement is reached before a litigated determination of the class certification
  issue.” Borcea v. Carnival Corp., 238 F.R.D. 664, 671 (S.D. Fla. 2006). To certify a settlement
  class, the court must first find that the requirements of Rule 23(a) and the relevant provision of
  Rule 23(b) are satisfied, but it need not consider “whether the case, if tried, would present
  intractable management problems.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997).




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   Neither Class Counsel nor the Settlement Administrator have received any objections to date. If
  any objections are filed between this filing and the deadline, Plaintiffs will respond to those
  objections and be prepared to address them at the final approval hearing. Plaintiffs will also be
  prepared to provide an update on the number of claims filed.

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   IV.     ARGUMENT
           A.      The Court Should Grant Final Approval.
                   1.         Class Members Received the Best Notice Practicable.
           Before exercising jurisdiction over claims for damages by absent class members, the Court
   must ensure sufficient procedural due process protections are in place, consistent with the
   Constitution and Rule 23. See Saccoccio v. JP Morgan Chase Bank, N.A., 297 F.R.D. 683, 691
   (S.D. Fla. 2014). “Absent class members must receive notice and an opportunity to be heard and
   to participate in the litigation, whether in person or through counsel.” Perez v. Asurion Corp., 501
   F. Supp. 2d 1360, 1377 (S.D. Fla. 2007). To satisfy constitutional due process, “[t]he notice must
   be the best practicable, reasonably calculated, under all the circumstances, to apprise interested
   parties of the pendency of the action and afford them an opportunity to present their objections.”
   Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985) (internal quotation marks omitted).
           The notice program in this case satisfied both Rule 23 and constitutional due process
   requirements. The Settlement Class consists of individuals and entities that indirectly purchased
   Defendants’ Salmon for resale in the U.S. jurisdictions that permit antitrust recovery by indirect
   purchasers. To identify potential class members, the Settlement Administrator used a
   commercially available database of grocery stores, meat and fish markets, eating places, caterers,
   and non-commercial businesses, schools, and institutions that may have eating places. In total, the
   Settlement Administrator identified and delivered individual notice to over 350,000 potential class
   members. Smith Decl. ¶ 9. This direct notice program was supplemented by a media campaign by
   posting advertisements in several industry-specific e-newsletters read by potential class members
   in the onsite food service industry, foodservice professionals, restaurant operators, and food
   retailers. Id. ¶¶ 13–14.
           “Where certain class members’ names and addresses cannot be determined with reasonable
   efforts, notice by publication is generally considered adequate.” Juris v. Inamed Corp., 685 F.3d
   1294, 1321 (11th Cir. 2012). In this case, IPPs worked with an experienced settlement
   administrator to use reasonable efforts to identify individual class members and provided direct
   notice to over 350,000 potential class members. Smith Decl. ¶ 9. In addition, notice was published
   widely in trade newsletters frequently read by potential class members. Id. ¶ 13–14. Under these
   circumstances, where the names and addresses of some class members are not readily available
   through Defendants’ records, publication by notice was appropriate. See, e.g., Carter v. Forjas


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   Taurus S.A., No. 1:13-CV-24583, 2016 WL 3982489, at *6 (S.D. Fla. July 22, 2016); Schorr v.
   Countrywide Home Loans, Inc., No. 4:07-cv-00019, 2015 WL 13402606, at *5 n.3 (M.D. Ga. Apr.
   1, 2015). For example, a comprehensive notice program of direct communications, supplemented
   with notice by publication, can satisfy due process. Morgan v. Public Storage, 301 F. Supp. 3d
   1237, 1262 (S.D. Fla. 2016).
            This robust notice program of targeted, direct communications supplemented by
   publication is consistent with court-approved notice programs in indirect antitrust actions
   nationwide. See, e.g., In re Pool Prods. Distrib. Mkt. Antitrust Litig., MDL No. 2328, 2015 WL
   4528880, at *7, 21 (E.D. La. July 27, 2015) (approving notice by distribution supplementing a
   direct notice program in indirect purchaser action); In re Pork Antitrust Litig., No. 18-cv-1776,
   2022 WL 4238416, at *7 (D. Minn. Sept. 14, 2022) (approving notice by publication in indirect
   action by consumers); In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., No. 14-
   md-02542, 2020 WL 7389330, at *5 (S.D.N.Y. Dec. 16, 2020) (approving notice by publication
   in indirect purchaser action). Therefore, the notice program used in this case provided the best
   notice practicable under the circumstances, satisfying Rule 23 and procedural due process.
                   2.      The Settlement is Fair, Reasonable, and Adequate.
            This settlement satisfies the factors used to evaluate the fairness of a settlement in the
   Eleventh Circuit. See Fed. R. Civ. P. 23(e); Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir.
   1984).
            A court should consider whether “the class representatives and class counsel have
   adequately represented the class,” the proposed settlement “was negotiated at arm’s length,” the
   relief proposed to the class is adequate, and the class members are treated “equitably relative to
   each other.” Fed. R. Civ. P. 23(e)(2). When deciding whether the relief is adequate, the court must
   take into account: “(i) the costs, risks, and delay of trial and appeal; (ii) the effectiveness of any
   proposed method of distributing relief to the class, including the method of processing class-
   member claims; (iii) the terms of any proposed award of attorney’s fees, including timing of
   payment; and (iv) any agreement required to be identified under Rule 23(e)(3).” Id.
            The Eleventh Circuit has instructed district courts to consider several additional factors,
   known as the Bennett factors, which include: “(1) ‘the likelihood of success at trial’; (2) ‘the range
   of possible recovery’; (3) ‘the point on or below the range of possible recovery at which a
   settlement is fair, adequate and reasonable’; (4) ‘the complexity, expense and duration of


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   litigation’; (5) ‘the substance and amount of opposition to the settlement’; and (6) ‘the stage of
   proceedings at which the settlement was achieved.’” In re Equifax Inc., 999 F.3d at 1273 (quoting
   Bennett, 737 F.2d at 986). Weighing these factors “is left to the sound discretion of the trial court”
   and should be “informed by the strong judicial policy favoring settlement as well as by the
   realization that compromise is the essence of settlement.” Bennett, 737 F.2d at 986.
                          a)      The Parties’ Negotiations and Efforts of Class Counsel Support a
                                  Preliminary Finding of Fairness.
          Courts in the Eleventh Circuit have noted that “[s]ettlement negotiations that involve arm’s
   length, informed bargaining with the aid of experienced counsel support a preliminary finding of
   fairness.” In re Checking Account Overdraft Litig., 275 F.R.D. 654, 662 (S.D. Fla. 2011) (citing
   Manual for Complex Litig. (Third) § 30.42 (1995)); e.g., Ervin v. Scotts Co., LLC, No. 17-60344,
   2020 WL 13413684, at *4 (S.D. Fla. Oct. 15, 2020); Eisenband v. Schumacher Auto., Inc., No. 18-
   cv-80911, 2019 WL 1301746, at *4 (S.D. Fla. Feb. 20, 2019). In this case, Class Counsel have
   zealously represented the class since before the case was filed and engaged in arm’s-length
   negotiations under the oversight of an experienced mediator to reach this settlement. These
   circumstances support a “preliminary finding of fairness.” In re Checking Account Overdraft
   Litig., 275 F.R.D. at 662; see Fed. R. Civ. P. 23(e)(2).
          As detailed in the motion for preliminary approval, Class Counsel vigorously represented
   the class by: (1) investigating the claims prior to filing; (2) obtaining early discovery of documents
   Defendants had produced to government investigators; (3) amending the complaint twice, based,
   at least in part, on documents produced to government investigators; (4) developing a document
   review protocol and reviewing hundreds of thousands of documents, most of which were in
   Norwegian; (5) obtaining discovery from relevant third-parties by serving 17 subpoenas and
   engaging in meet-and-confers with those parties; (6) crafting a unique deposition protocol to
   manage the challenges of depositions of foreign citizens during a global pandemic; (7) conducting
   Rule 30(b)(6) depositions and identifying fact witnesses to be deposed; (8) seeking additional
   discovery after reviewing Defendants’ productions; (9) managing the collection of Plaintiffs’
   documents, many of which were stored on paper; (10) reviewing Plaintiffs’ documents to produce
   relevant discovery to Defendants and beginning production; (11) retaining an expert to analyze
   Defendants’ data and identify the information needed to prove damages at trial. These efforts,
   especially in light of the challenges presented by litigating against foreign corporations primarily



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   conducting business in the Norwegian language, demonstrate how the Class Counsel’s
   representation of the class was more than adequate.
          The circumstances of the settlement negotiations similarly support a preliminary finding
   of fairness for several reasons. First, the settlement was overseen by former Magistrate Judge
   Infante, who has extensive experience with mediations in complex, antitrust litigation. Judge
   Infante had also overseen the mediation in the DPP action, so was familiar with the facts of the
   cases and the potential barriers to settlement. His management of the settlement process is a “strong
   indicator of procedural fairness.” Jones v. Singing River Health Servs. Found., 865 F.3d 285, 295
   (5th Cir. 2017); Fed. R. Civ. P. 23(e)(2)(B) advisory committee’s notes to 2018 amendment
   (“[T]he involvement of a neutral or court-affiliated mediator or facilitator in those negotiations
   may bear on whether they were conducted in a manner that would protect and further the class
   interests.”). Second, IPPs conducted substantial discovery prior to the mediation and were thus
   well-informed about the strengths and risks of the case while negotiating the settlement. See Ervin,
   2020 WL 13413684, at *4. Third, IPPs continued to litigate the case until the settlement was
   reached, producing documents, reviewing discovery, negotiating deposition witnesses, and
   arguing a motion to compel.
          In short, the circumstances of the settlement and the significant litigation efforts by Class
   Counsel support a finding a fairness.
                          b)      IPPs Obtained Substantial Relief for the Class.
          The Rule 23(e)(2) factors measuring the adequacy of relief and the Bennett factors weigh
   strongly in favor of the settlement obtained by IPPs. Fed. R. Civ. P. 23(e)(2)(C); Bennett, 737 F.2d
   at 986. The $33 million recovery obtained here is substantial and avoids years of protracted
   litigation and the risks inherent in a complex antitrust case.
          The “costs, risks, and delay of trial and appeal,” Fed. R. Civ. P. 23(e)(2)(C)(i), and the first,
   fourth, and sixth Bennett factors, which relate to “the likelihood of success at trial,” “the
   complexity, expense and duration of litigation,” and the timing of the settlement weigh in favor of
   final approval here. The case has been pending since May 2019 and was settled prior to a ruling
   on Defendants’ motion to dismiss and before IPPs filed a motion for class certification. At this
   early stage, it is likely the litigation would have continued for years absent a settlement. While
   IPPs were confident in the strength of their case based on the evidence reviewed to date, there are
   many complexities and risks typical in indirect purchaser actions. Courts routinely comment on


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   the complexity of such cases. See e.g. Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d.
   1185, 1206 (S.D. Fla. 2006) (“Courts in this Circuit recognize that large class actions involving
   various legal theories are, by their nature, very difficult.”); In re Domestic Drywall Antitrust Litig.,
   No. 13-MD-2437, 2019 WL 1258832, at *3 (E.D. Pa. Mar. 19, 2019); Sullivan v. DB Investments,
   Inc., 667 F.3d 273, 304–05 (3d Cir. 2011) (en banc); In re Nexium Antitrust Litig., 777 F.3d 9, 26
   (1st Cir. 2015). The complexity of this case was even more pronounced because it involved foreign
   defendants and a large volume of documents in a foreign language. Based on these risks and
   complexities, the settlement obtained here is fair. Absent this settlement, class members would
   likely need to wait several years before obtaining any recovery. Any outcome favorable to IPPs
   would also likely be appealed, introducing even more delay.
          The second and third Bennett factors, “the range of possible recovery” and “the point on or
   below the range of possible recovery at which a settlement is fair, adequate and reasonable,”
   similarly weigh in favor of a finding of fairness here. Indirect antitrust claims may only be brought
   in jurisdictions that permit such claims. Accordingly, this case only involves commerce in 34 U.S.
   jurisdictions, not the entire U.S., and the settlement amount reflects that reduced range of possible
   recovery.
          Next, the fifth Bennett factor, “the substance and amount of opposition to the settlement,”
   weighs in favor of final approval. To date, no objections have been filed and no opt-out requests
   have been received. Smith Decl. ¶¶ 21–22. With a class of thousands of indirect salmon purchasers,
   these numbers indicate that the amount of opposition is very low. Because no objections have been
   filed, there is no indication of any substantive opposition to the settlement.
          Finally, the Rule 23(e)(2)(C) factor related to attorneys’ fees weighs in favor of final
   approval. As explained in the motion for fees, the fee request in this case is reasonable and
   consistent with similar class actions nationwide and in the Eleventh Circuit. Even after fees and
   expenses, the settlement amount for the class remains substantial.
          For these reasons, the Court should find that the settlement in this case is fair, reasonable,
   and adequate.
                          c)      The Settlement Treats Class Members Equitably and Effectively
                                  Distributes the Settlement Fund.
          Rule 23(e) requires the Court to consider whether the method of distribution is effective
   and treats class members equitably. Courts have concluded that a notice program treats class
   members equitably where it distributes funds on a pro rata basis. See Lloyd v. James E. Albertelli,

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   P.A., No. 20-cv-60300, 2020 WL 7295767, at *1 (S.D. Fla. Dec. 10, 2020); see also Juris v.
   Inamed Corp., 685 F.3d at 1328 n.31. The allocation plan in this case proposed to distribute funds
   based on the amount of Defendants’ Salmon each claimant purchased during the class period in
   the relevant indirect purchaser states and territories, providing direct cash relief to the class. Courts
   routinely find this method of distribution to be equitable and effective. See, e.g., Sullivan, 667 F.3d
   at 327; In re Dynamic Random Access Memory (DRAM) Antitrust Litig., MDL No. 1486, 2013
   WL 12333442, at **79–80 (N.D. Cal. Jan. 8, 2013), report and recommendation adopted by 2014
   WL 12879520, at *1 (N.D. Cal. June 27, 2014); In re Packaged Ice Antitrust Litig., No. 08-MDL-
   01952, 2011 WL 6209188, at *15 (E.D. Mich. Dec. 13, 2011); In re Airline Ticket Comm’n
   Antitrust Litig., 953 F. Supp. 280, 284–85 (D. Minn. 1997); In re Corrugated Container Antitrust
   Litig., 556 F. Supp. 1117, 1129 (S.D. Tex. 1982). Therefore, these considerations weigh in favor
   of final approval.
           B.      The Settlement Class Should Be Certified.
           The Court previously granted preliminary certification of the Settlement Class after
   concluding that the class satisfied the requirements of Rule 23. Because those considerations have
   not changed, the Court should certify the Settlement Class for purposes of this settlement only.
   Borcea, 238 F.R.D. at 671 (“A class may be certified solely for purposes of settlement where a
   settlement is reached before a litigated determination of the class certification issue.” (internal
   quotations omitted)); accord In re Equifax Inc., 999 F.3d at 1277 (affirming certification of
   settlement class).
           The Settlement Class fulfills the prerequisites of Rule 23(a). First, the class is sufficiently
   numerous “that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). The Settlement
   Administrator identified and delivered individual notice to over 350,000 potential class members
   and at least 40,692 class members have filed claims to date, which is well above the threshold
   required for numerosity. Smith Decl. ¶¶ 9, 19; see Rosen v. J.M. Auto Inc., 270 F.R.D. 675, 680
   (S.D. Fla. 2009) (noting that more than forty class members is generally adequate to satisfy
   numerosity). Second, the Settlement Class’s antitrust claims share common questions of law or
   fact that can be resolved in a common manner. See Fed R. Civ. P. 23(a)(2); Wal-Mart Stores, Inc.
   v. Dukes, 564 U.S. 338, 350 (2011). Defendants’ liability for the state-law antitrust claims alleged
   by IPPs could be resolved in a common manner because IPPs have alleged a common price-
   manipulation scheme that raised prices across the United States. See In re Terazosin Hydrochloride


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   Antitrust Litig., 220 F.R.D. 672, 686 (S.D. Fla. 2004) (“Specifically in the antitrust context, courts
   in this Circuit have consistently held that allegations of price-fixing, monopolization, and
   conspiracy by their very nature involve common questions of law or fact.”).
          Third, IPPs’ claims are typical of the Settlement Class because they “arise from the same
   event or pattern or practice and are based on the same legal theory.” Williams v. Mohawk Indus.,
   Inc., 568 F.3d 1350, 1356 (11th Cir. 2009); see Fed. R. Civ. P. 23(a)(3). The Class Representatives
   include restaurants, grocery stores, and a caterer who purchased Salmon for resale and are alleged
   to have paid increased prices for Salmon. Fourth, these Class Representatives and Class Counsel
   have adequately represented the class. Fed. R. Civ. P. 23(a)(4). The adequacy inquiry considers
   “(1) whether any substantial conflicts of interest exist between the representatives and the class;
   and (2) whether the representatives will adequately prosecute the action.” Busby v. JRHBW Realty,
   Inc., 513 F.3d 1314, 1323 (11th Cir. 2008). The Class Representatives have no conflicts of interest
   here because they stand to gain the same monetary relief as the class. That relief will be distributed
   on a pro rata basis based on the amount of Salmon they purchased during the relevant time period.
   Further, Class Counsel and the Class Representatives have more than adequately prosecuted this
   action, bringing the case through three years of litigation, including substantial discovery. In short,
   the Settlement Class and Class Counsel clearly meet the requirements of Rule 23(a).
          Plaintiffs have satisfied the predominance requirement of Rule 23(b)(3) for settlement
   purposes. The predominant factual and legal issues here relate to Defendants’ alleged
   anticompetitive conspiracy to raise the price of Salmon through unlawful price coordination. See,
   e.g., Second Am. Compl. ¶¶ 227–34. These common issues predominate over individualized issues
   and can be decided in the same manner for the Settlement Class with respect to Plaintiffs’ claims
   under the antitrust laws of the 34 jurisdictions at issue. See In re Terazosin Hydrochloride, 220
   F.R.D. at 695; see also Amchem Prods., Inc. v. Windsor, 521 U.S. at 620 (“Predominance is a test
   readily met in certain cases alleging consumer or securities fraud or violations of the antitrust
   laws.”).
          Resolving this dispute through a class action is the superior method of resolving the
   dispute. Fed. R. Civ. P. 23(b)(3). At least 40,692 claims have been filed to date. Smith Decl. ¶ 19.
   Without a class mechanism to resolve these claims, each of those class members could obtain relief
   only by bringing a separate case. On a class-wide basis, the recovery is substantial, especially
   given the stage of litigation and other risks inherent in complex litigation, as discussed above.


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   However, the individual recovery for each of these class members, especially those who have
   purchased less Salmon, would make individual litigation infeasible. See Roundtree v. Bush Ross,
   P.A., 304 F.R.D. 644, 663 (M.D. Fla. 2015). Thus, a class action is the superior method of
   adjudicating this case.
          In short, the Court should grant final certification of the class for settlement purposes. The
   Settlement Class clearly satisfies each of the requirements of Rule 23(a) and Rule 23(b)(3).
          C.      Class Counsel’s Request for Reimbursement of Fees and Expenses Should Be
                  Granted.
          IPPs respectfully request that the Court award $9,900,000 in attorneys’ fees, which is 30%
   of the $33 million gross settlement fund, and reimburse $1,278,166.09 in reasonable and necessary
   litigation expenses. The factual and legal bases for this request are set forth in IPPs’ motion for
   attorneys’ fees and litigation expenses, which IPPs incorporate by reference. See ECF No. 345.3
   For the reasons discussed in that motion, and as summarized below, the Court should award fees
   and reimburse litigation expenses.
          Under Rule 23 and the common fund doctrine followed by the Eleventh Circuit,
   “[a]ttorneys in a class action in which a common fund is created are entitled to compensation for
   their services from the common fund, but the amount is subject to court approval.” Camden I
   Condominium Ass’n, Inc. v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991) (citing Fed. R. Civ. P.
   23(e)). The common fund doctrine originates in the equitable powers of the federal courts to ensure
   individuals benefitting from a case are not “unjustly enriched at the successful litigant’s expense.”
   Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). The Eleventh Circuit has directed district
   courts to follow the common fund doctrine by awarding fees in the amount of a reasonable
   percentage of the settlement fund. Camden I, 946 F.2d at 774; see Waters v. Int’l Precious Metals
   Corp., 190 F.3d 1291, 1293 (11th Cir. 1999); In re Equifax Inc., 999 F.3d at 1280.
          Under the factors established by the Fifth Circuit in Johnson v. Georgia Highway Express,
   Inc., 488 F.2d 714, 717–19 (5th Cir. 1974), and later adopted by the Eleventh Circuit in Camden
   I, a fee award of 30% is appropriate in this case. See Camden I, 946 F.2d at 772 n.3. Several
   Johnson factors relate to the work performed by Class Counsel and the difficulty and skill required


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     IPPs’ filed their motion for fees and expenses on December 1, 2022, before class notice was
   issued and well before the deadlines for opt-outs or objections. Accordingly, IPPs satisfied the
   timing requirements discussed in Johnson v. NPAS Solutions, LLC, 975 F.3d 1244, 1252 (11th Cir.
   2020).

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   to litigate the case. See ECF No. 345 at 7–11 (analyzing Johnson factors 1, 2, 3, 4, 7, and 9). Class
   Counsel have vigorously litigated this complex case for over three years, investigating the claims,
   reviewing tens of thousands of pages of discovery in translation, negotiating discovery protocols,
   conducting depositions, serving 17 subpoenas on third parties, collecting Plaintiffs’ documents for
   production, litigating discovery disputes, and briefing a motion to dismiss. While performing that
   work, Class Counsel faced several complexities based on the legal claims raised and the nature of
   the facts in this case. See, e.g., In re Motorsports Merch. Antitrust Litig., 112 F. Supp. 2d 1329,
   1337 (N.D. Ga. 2000) (noting complexities of antitrust cases); In re Nexium Antitrust Litig., 777
   F.3d at 26 (noting complexities of indirect purchaser actions). Defendants are foreign corporations
   doing business in Norwegian, and Class Counsel had to navigate litigation during a global
   pandemic. The efforts of Class Counsel and the complexity of this case weigh in support of the fee
   award requested.
          Two Johnson factors consider how the percentage sought compares to fees in similar cases.
   See ECF No. 345 at 12–13 (discussing Johnson factors 5 and 12). The 30% award sought here is
   consistent with antitrust cases in this district and nationwide. That percentage is exactly what the
   court awarded in the recently settled direct purchaser action and is at or below the percentage
   typically awarded in this district. In re Farm-Raised Salmon, ECF No. 543; see, e.g., Morgan v.
   Public Storage, 301 F. Supp. 3d at 1252–53; Diakos v. HSS Sys., LLC, No. 14-61784, 2016 WL
   3702698, at *7 (S.D. Fla. Feb. 5, 2016); Duque v. 130 NE 40th St., LLC, No. 14-23965-CIV, 2016
   WL 7442797, at *3 (S.D. Fla. Jan. 27, 2016); Gevaerts v. TD Bank, No. 11:14-cv-20744, 2015
   WL 6751061, at *14 (S.D. Fla. Nov. 5, 2015); Cifuentes v. Regions Bank, No. 11-cv-23455, 2014
   WL 1153772, at *8 (S.D. Fla. Mar. 20, 2014). Moreover, the 30% sought here is in line with
   awards in indirect purchaser settlements. See, e.g., In re Interior Molded Doors Indirect Purchaser
   Antitrust Litig., No. 3:18-cv-00850, 2021 WL 5195089, at *3 (E.D. Va. July 27, 2021); In re
   Keurig Green Mountain Single-Serve Coffee Antitrust Litig., No. 14-md-02542, 2021 WL
   2328431, at *1 (S.D.N.Y. June 7, 2021); In re Lithium Ion Batteries Antitrust Litig., No. 13-MD-
   02420, 2020 WL 7264559, at *23 (N.D. Cal. Dec. 10, 2020); In re Pool Prods. Distrib. Mkt.
   Antitrust Litig., 2015 WL 4528880, at *21. Because the award requested here is on par with awards
   in similar cases, these factors weigh in favor of the award.
          The Johnson factors related to the risk borne by Class Counsel similarly weigh in favor of
   the award sought here. See ECF No. 345 at 14–15 (analyzing Johnson factors 6, 8, and 10). The


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   $33 million recovery is substantial and an excellent result for the class, especially because the case
   was still in its early stages when settlement was reached. The settlement thus avoids years of
   litigation. See Greco v. Ginn Dev. Co., LLC, 635 F. App’x 628, 633 (11th Cir. 2015). There were
   substantial risks avoided by settling this case, including risks unique to indirect purchaser actions.
   See In re Dynamic Random Access Memory (DRAM) Antitrust Litig., MDL No. 1486, 2013 WL
   12387371, at *20 (N.D. Cal. Nov. 5, 2013).
           In short, because the Johnson factors weigh strongly in favor of the fee award requested,
   the Court should award 30% of the settlement fund as attorneys’ fees.
           IPPs have also requested reimbursement of litigation expenses. Courts may reimburse
   litigation expenses that were reasonable and necessary to the prosecution of the case. Waters, 190
   F.3d at 1299; Morgan, 301 F. Supp. 3d at 1258. Common expenses courts have recognized as
   reasonable and necessary include “among others, fees for experts, photocopies, travel, online
   research, translation services, mediator fees, and document review and coding expenses.”
   Gevaerts, 2015 WL 6751061, at *14. Class Counsel have detailed the expenses incurred in the
   prosecution of this case, see ECF No. 345 at 16, all of which fit into the categories of necessary
   litigation expenses for a complex case. In total, IPPs seek $1,278,166.09 in expenses, an amount
   that is less than half of the expenses recently awarded in the direct purchaser case. Order
   Approving Class Settlement at 9, In re Farm-Raised Salmon, ECF No. 543. Because the expenses
   sought here are reasonable and were necessary to bring this case, the Court should reimburse Class
   Counsel for litigation expenses from the settlement fund.
   V.      CONCLUSION
           IPPs obtained a $33 million settlement for the class of indirect purchasers in this case. This
   is an excellent result for the class, as it provides direct cash relief that will be distributed on a pro
   rata basis. To date, no class member has filed an objection. The settlement clearly meets the
   requirements of Rule 23(e) and is fair, reasonable, and adequate. The Settlement Class also meets
   the requirements for class certification under Rule 23(a) and 23(b)(3). Accordingly, IPPs request
   that the Court approve the settlement, certify the class for settlement purposes only under Rule 23,
   appoint IPPs as Class Representatives, and appoint the law firms of Zwerling, Schachter &
   Zwerling LLP (Fred T. Isquith) and Lockridge Grindal Nauen P.L.L.P. (Heidi M. Silton) as
   Settlement Class Counsel. Class Counsel’s fee request is similarly reasonable and fair, especially
   in light of the complex issues in this case, the amount of work performed by counsel, and the risks


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   associated with antitrust cases. Class Counsel respectfully request that the Court grant their motion
   for an award of attorneys’ fees and reimbursement of litigation expenses. After the Final Approval
   Hearing currently scheduled for February 24, 2023, Plaintiffs respectfully request that the Court
   grant these motions and enter an order granting the relief described above.




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                      CERTIFICATION OF PRE-FILING CONFERENCE
          On January 11, 2023, Class Counsel provided Defendants with a copy of this motion.
   Defendants have agreed that they do not oppose this motion.




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   Dated: January 19, 2023            /s/ Nathan C. Zipperian
                                      Jayne A. Goldstein (FBN 144088)
                                      Nathan C. Zipperian (FBN 61525)
                                      MILLER SHAH LLP
                                      1625 North Commerce Parkway, Suite 320
                                      Fort Lauderdale, FL 33326
                                      (866) 540-5505
                                      jagoldstein@millershah.com
                                      nczipperian@millershah.com

                                      Liaison Counsel for Indirect Purchaser
                                      Settlement Class

                                      Heidi M. Silton (pro hac vice)
                                      Kristen G. Marttila (pro hac vice)
                                      Joseph C. Bourne (pro hac vice)
                                      Derek C. Waller (pro hac vice)
                                      LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                                      100 Washington Avenue South, Suite 2200
                                      Minneapolis, MN 55401
                                      (612) 339-6900
                                      hmsilton@locklaw.com
                                      kgmarttila@locklaw.com
                                      jcbourne@locklaw.com
                                      dcwaller@locklaw.com

                                      Robert S. Schachter (pro hac vice)
                                      Robin F. Zwerling (pro hac vice)
                                      Fred Taylor Isquith, Sr. (pro hac vice)
                                      Fred Isquith, Jr. (pro hac vice)
                                      ZWERLING, SCHACHTER & ZWERLING LLP
                                      41 Madison Avenue, 32nd Floor
                                      New York, NY 10010
                                      (212) 223-3900
                                      rschachter@zsz.com
                                      rzwerling@zsz.com
                                      ftisquith@zsz.com
                                      fisquith@zsz.com

                                      Co-Lead Class Counsel for the Indirect Purchaser
                                      Settlement Class




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